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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
PECOS DIVISION

ESTEBAN TREVIZO-LOPEZ,
Individually and as Personal
Representative of the Estate of
TERESA LOPEZ-CERRILLO,
Deceased, ALEXANDRA
TREVIZO-LOPEZ, Individually
and as Next Friend of

, minor child, ADAN
TREVIZO-LOPEZ, ARELI
TREVIZO-LOPEZ,

CASE NO. 4:14-ev-67

Plaintiffs,
VS.

ERWIN ALVARADO VALLE,
SEACON LOGIX, INC.,

COR 00D UGD CGR 00D UGR SOR TOD UD GR OD 00D UG 66D 6D G2 LOD 8a

Defendants
NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT FOR THE

WESTERN DISTRICT OF TEXAS, PECOS DIVISION:
I. INTRODUCTION

L. ERWIN ALVARDO VALLE, is a named Defendant in the civil action
brought in the 143 Judicial District Court of Reeves County, Texas in Cause No.
14-08-20753-CVR; Esteban Trevizo-Lopez, Individually and as Personal
Representative of the Estate of Teresa Lopez-Cerrillo, Deceased, Alexandra Trevizo-
Lopez, Individually and as Next Friend of (MM. ino child, Adan Trevizo-
Lopez, Areli Trevizo-Lopez yv. Erwin Alvarado Valle, Seacon, Logix, Inc. A copy of

the Plaintiffs’ Original Petition, Defendant’s Original Answer and Notice of Removal
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are attached hereto and constitutes all known process, pleading and orders served in
the action as EXHIBITS A, B and C.

Il. ARGUMENT AND AUTHORITY
2. This case was initially filed in state court on August 7, 2014. Defendant,
ERWIN ALVARADO VALLE, was served on or about August 22, 2014.
3. This removal is filed within 30 day of service, and is removable under 28
U.S.C. §1446(b).
4. Pursuant to Plaintiffs’ Petition, Defendant, SEACON LOGIX, INC. is a
California corporation.
5. Defendant, ERWIN ALVARADO VALLE is, and at all times mentioned
was, a resident of El Monte, California.
6. Plaintiffs, ESTEBAN TREVIZO-LOPEZ, INDIVIDUALLY AND AS
PERSONAL REPRESENTATIVE OF THE ESTATE OF TERESA LOPEZ-
CERRILLO, DECEASED, ALEXANDRA TREVIZO-LOPEZ,
INDIVIDUALLY AND AS NEXT FRIEND OF EE, MINOR
CHILD, ADAN TREVIZO-LOPEZ, ARELI TREVIZO-LOPEZ, are residents of
Mexico, and may be served with notice through their attorney of record, Richard
Hardy, 1115 Broadway, Lubbock, Texas 79401.
7. The district courts of the United States have original jurisdiction over this
action based on diversity of citizenship among the parties, in that Defendant,

ERWIN ALVARADO VALLE, is now and was at the time the action was
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commenced, diverse in citizenship from Plaintiff. Defendant is, and was not, at the
time suit was commenced a citizen of the State of Texas.

8. Jurisdiction of this court is based on TITLE 28 of the UNITED STATES CODE, 28
U.S.C.A. §1332 and §2201. There is diversity of citizenship between Defendant and
Plaintiffs, and the amount in controversy exceeds $75,000.00.

9, Removal of this action is proper under 28 U.S.C.A. §1441, since it is a civil
action brought in a state court, and the federal district courts have original
jurisdiction over the subject matter under 28 U.S.C.A. §1332 because the Plaintiff
and Defendant are diverse in citizenship.

WHEREFORE, ERWIN ALVARADO VALLE, Defendant, pursuant to
these statutes and in conformance with the requirements set forth in 28 U.S.C.A.
§1446, removes this action for trial from the 143 Judicial District Court of Reeves
County, Texas to this Court.

Respectfully submitted,

RAMSEY & MURRAY, P.C.

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By: i UT oepnt ype
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ATTORNEY FOR DEFENDANT,
ERWIN ALVARDO VALLE

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CERTIFICATE OF SERVICE

I, hereby certify that on this 22nd day of September, 2104 a true and correct
copy of this document has been properly served on all counsel of record and that the
original was promptly filed with the UNITED STATES DISTRICT CLERK’S OFFICE FOR
THE WESTERN DISTRICT OF TEXAS, PECOs DIVISION.

Wayng Walters

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